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 3                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 4                                   AT SEATTLE

 5
           NINTENDO OF AMERICA INC,
 6                               Plaintiff,
                                                          C20-738 TSZ
 7             v.
                                                          ORDER OF DEFAULT
 8         ANXCHIP.COM, et al.
 9                               Defendants.

10
           THIS MATTER comes before the Clerk of the Court on plaintiff Nintendo of
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     America Inc’s motion, docket no. 22, and it appearing that defendants ANXCHIP.COM,
12 AXIOGAME.COM, FLASHCARDA.COM, MOD3DSCARDS.COM, NX-CARD.COM,

13 SXFLASHCARD.COM, TXSWITCH.COM, and USACHIPSS.COM have failed to timely plead

14 or otherwise defend in this action, default is hereby entered against:

15                  1.    ANXCHIP.COM;
                    2.    AXIOGAME.COM;
16                  3.    FLASHCARDA.COM;
                    4.    MOD3DSCARDS.COM;
17                  5.    NX-CARD.COM;
                    6.    SXFLASHCARD.COM;
18                  7.    TXSWITCH.COM; and
                    8.    USACHIPSS.COM
19
           IT IS SO ORDERED.
20         DATED this 19th day of August, 2020.
21                                             WILLIAM M. MCCOOL, Clerk

22
                                               By: /s/ Karen Dews
23                                                     Deputy Clerk
     ORDER OF DEFAULT - 1
